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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA INDICTMENT

-v. - 23 cr.(o/0 { )

MOSES RABINOWITZ,

a/k/a “Mark Rabin,”

a/k/a “Moshe Rabinowitz,” and
MENACHIM SAMBER,

a/k/a “Manny, ”

Defendants.

COUNT ONE
(Conspiracy to Commit Wire Fraud)

The Grand Jury charges:
1. At all times relevant to this Indictment:

a. The U.S. Food and Drug Administration (“FDA”) is
responsible for regulating the manufacture, labeling, and
distribution of all medical devices and over the counter (“OTC”)
drugs shipped or received in interstate commerce. The FDA is also
responsible for enforcing the Federal Food, Drug, and Cosmetic Act
(“FDCA”), 21 U.S.C. § 301, et seg., as it pertains to medical
devices and OTC drugs. The FDCA and implementing regulations set
forth numerous requirements for the manufacture, labeling, and
distribution of FDA regulated products intended to be distributed

in the United States.

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b. Manufacturers of medical and other FDA regulated
consumer products are often multinational companies’ that
distribute their products both in the United States and abroad and
have offices throughout the world. Such companies are required to
ensure that medical devices and OTC drugs that will be distributed
in the United States are manufactured, labeled, and packaged in
compliance with FDA requirements for domestic distribution.

eC. Significant differences may exist between medical
devices and OTC drugs approved or cleared for sale in the United
States and those manufactured for sale internationally. For
example, products intended for sale in international markets may
contain different ingredients than similar products manufactured
for sale in the United States; use different units of measurement
than those approved by the FDA; or be missing certain warning
labels required on products solid in the United States. Moreover,
manufacturers track and monitor medical devices and OTC drugs for
safety and quality issues by lot numbers. Should an issue arise
with a particular medical device or OTC drug, a manufacturer may
notify only those countries in which certain lot numbers were to
be distributed. Thus, customers who unknowingly purchase diverted
medical devices or OTC drugs that were intended for a foreign
Market may not be notified of a recall.

d. Manufacturers generally charge medical supply

distributors more for medical devices and OTC drugs authorized for

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sale in the United States than for similar products manufactured
for international markets. Manufacturers of FDA regulated
consumer products that distribute their products both in the United
States and abroad will sometimes sell their products to foreign
distributors at deep discounts for a variety of reasons, including
to open new markets and because they do not have to pay for
advertising or promotion abroad.

e. Victim Company-1, Victim Company-2, and Victim-
Company-3 (collectively, the “Victim Companies”) were
manufacturers, distributors, and suppliers of medical devices and
OTC drugs.

f. MOSES RABINOWITZ, a/k/a “Mark Rabin,” a/k/a “Moshe
Rabinowitz,” the defendant, was the owner and president of medical
supply distributor Trasco, LLC (“Trasco”), and the owner of Trasco
affiliates GlocbalMed International, Ltd. (“GlobalMed”}), and
Panamedica Trading, Inc. (“Panamedica”).

g. MENACHIM SAMBER, a/k/a “Manny,” the defendant, was
an employee of Trasco whose functions included purchasing and
sales.

2. Trasco’s business office was located in Valley Cottage,
New York Until in or about Spring 2018, at which time it moved to
Northvale, New Jersey.

3. From at least in or about January 2014 up to and

including on or about January 3, 2019, MOSES RABINOWITZ, a/k/a

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“Mark Rabin,” a/k/a “Moshe Rabinowitz,” and MENACHIM SAMBER, a/k/a
“Manny,” the defendants, and others, known and unknown, unjustly
enriched themselves and Trasco by obtaining FDA-regulated medical
devices and OTC drugs that were not intended for sale in the United
States, at deeply discounted prices from the Victim Companies by
falsely and fraudulently representing to the Victim Companies that
the products would be sold and distributed outside of the United
States, when, in fact, RABINOWITZ and SAMBER, from the outset,
intended to, and did, sell and distribute those medical devices
and OTC drugs at a substantial profit to wholesalers, distributors,
and others in the United States.

4, The Victim Companies relied on RABINOWITZ, SAMBER, and
other co-conspirators’ false and fraudulent representations, and
sold their products to RABINOWITZ, SAMBER, Trasco, GobalMed, and
Panamedica at deeply discounted prices, resulting in losses to the
Victim Companies of more than $5 million.

5. RABINOWITZ, SAMBER, and other co-conspirators created
and caused to be created false and fraudulent documentation, which
they provided and caused to be provided to the Victim Companies to
conceal their fraudulent scheme, including through at least one
corrupt insider at one of the Victim Companies, who assisted in
the use of false documentation to show that the foreign medical

products purchased by Trasco were shipped to foreign entities.

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6. At times, RABINOWITZ, SAMBER, and other co-conspirators
arranged for the fraudulently obtained products to be diverted
directly to locations within the United States, and for “dummy”
shipments to be exported instead in order to generate documentation
to provide to the Victim Companies as proof of export.

Ve RABINOWITZ, SAMBER, and other Trasco employees acting at
their direction often removed the foreign language packaging or
labeling on the medical devices and OTC drugs so that the
provenance of the foreign medical products would be hidden from
the domestic consumers and distributors to whom they were sold.

B. From at least in or about January 2014 up to and
including on or about January 3, 2019, in the Southern District of
New York and elsewhere, MOSES RABINOWITZ, a/k/a “Mark Rabin,” a/k/a
“Moshe Rabinowitz,” and MENACHIM SAMBER, a/k/a “Manny,” the
defendants, and others, known and unknown, willfully and knowingly
did combine, conspire, confederate, and agree together and with
each other to commit wire fraud, in violation of Title 18, United
States Code, Section 1343.

9. It was a part and an object of the conspiracy that MOSES
RABINOWITZ, a/k/a “Mark Rabin,” a/k/a “Moshe Rabinowitz,” and
MENACHIM SAMBER, a/k/a “Manny,” the defendants, and others, known
and unknown, having devised and intending to devise a scheme and
artifice to defraud and or obtaining money and property by means

of false and fraudulent pretenses, representations, and promises,

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would and did transmit and cause to be transmitted by means of
wire, radio, and television communication in interstate and
foreign commerce, writings, signs, signals, pictures, and sounds
for the purpose of executing such scheme and artifice, to wit,
RABINOWITZ, SAMBER, and others known and unknown made, and caused
to be made, false representations to the Victim Companies in order
to unlawfully obtain from the Victim Companies and distribute to
Trasco’s domestic customers medical devices and OTC drugs that
were not intended for sale in the United States, and concealed
their scheme from the Victim Companies, including through the use
of: (a) GlobalMed, Panamedica, and other foreign front companies
to purchase medical devices and OTC drugs from the Victim Companies
under the false pretense that the devices and OTC drugs would be
sold abroad, but which were then diverted to Trasco and sold to
its domestic customers; and (b) at least one corrupt insider at
one of the Victim Companies, who assisted in the use of false
documentation to show that the foreign medical products purchased
by Trasco were shipped to foreign entities, when instead the
products were shipped to Trasco and sold to Trasco’s domestic
customers, in violation of Title 18, United States Code, Section
1343.

(Title 18, United States Code, Section 1349.)

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COUNT TWO
(Conspiracy to Obtain Pre-Retail Medical Products by Fraud or
Deception)

The Grand Jury further charges:

10. The allegations contained in paragraphs 1 through 8 of
this Indictment are repeated and realleged as if fully set forth
herein.

11. From in or about January 2014 up to and including in or
about January 3, 2019, in the Southern District of New York and
elsewhere, MOSES RABINOWITZ, a/k/a “Mark Rabin,” a/k/a “Moshe
Rabinowitz,” and MENACHIM SAMBER, a/k/a “Manny, ” the defendants,
and others, known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to
obtain by fraud and deception pre-retail medical products, with a
value of $5,000 or greater, that is, medical devices and OTC drugs,
in and using a means or facility of interstate or foreign commerce,

(Title 18, United States Code, Sections 670(a) (6) and (a) (1).)

FORFEITURE ALLEGATIONS

12. As a. result of committing the offenses alleged in Count
One of this Indictment, MOSES RABINOWIT4, a/k/a “Mark Rabin,” a/k/a
“Moshe Rabinowitz,” and MENACHIM SAMBER, a/k/a “Manny,” the
defendants, shall forfeit to the United States, pursuant to Title
18, United States Code, Section 981(a)(1)(C) and Title 28 United
States Code, Section 2461(c), any and all property, real and

personal, that constitutes or is derived from proceeds traceable

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to the commission of said offenses, including but not limited to
a sum of money in United States currency representing the amount
of proceeds traceable to the commission of said offenses.

SUBSTITUTE ASSET PROVISION

13. If any of the above-described forfeitable property, as
a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with,

a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot

be divided without difficulty;
it is the intent of the United States, pursuant to Title 21, United
States Code, Section 853(p) and Title 28, United States Code, Section
2461(c}, to seek forfeiture of any other property of the defendant
up to the value of the forfeitable property described above.

(Title 18, United States Code, Section 981; Title 21, United

States Code, Section 853; and Title 28, United States Code,
Section 2461.}

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FOéREPERSON DAMIAN WILLIAMS
United States Attorney

